MEYER LEVY, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Levy v. CommissionerDocket No. 24831.United States Board of Tax Appeals10 B.T.A. 907; 1928 BTA LEXIS 4010; February 20, 1928, Promulgated *4010  The loss of the investment in stock in a corporation held not to be a loss resulting from a trade or business regularly carried on.  Meyer Levy pro se.  A. S. Lisenby, Esq., for the respondent.  TRAMMELL *907  This proceeding is for the redetermination of a deficiency in income tax for the year 1922 in the amount of $519.92.  The question involved is whether the petitioner is entitled to a net loss under the provisions of section 204 of the Revenue Act of 1921, which is deductible from his 1922 income.  The facts are stipulated.  FINDINGS OF FACT.  In 1919 the petitioner invested $10,000 in stock of Glinert &amp; Levy, Inc., a corporation organized under the laws of the State of New York.  This corporation was especially organized by Meyer Levy, Glinert and Mealbon for the purpose of conducting a dress goods business.  The petitioner in 1921, by reason of business losses of the abovenamed corporation, was forced to surrender the stock without any return on his investment, incurring a total loss of $10,000 on such investment.  The petitioner devoted all of his time to the conduct of the business of Glinert &amp; Levy, Inc., and it was the*4011  investment in the stock of Glinert &amp; Levy, Inc., which became worthless towards the end of 1921.  OPINION.  TRAMMELL: This proceeding presents the question as to whether the petitioner sustained such a net loss in 1921 as entitled him to the deduction in his income-tax return for 1922 in accordance with section 204 of the Revenue Act of 1921.  *908  The real controversy here is whether the loss sustained by the petitioner in 1921 was a loss resulting from the operation of any trade or business regularly carried on by the petitioner.  If it was, it is allowable as a net loss.  The loss sustained here was the investment by the petitioner in the stock of the corporation.  This stock became worthless during 1921.  The loss from the investment was not a loss from the operation of a business regularly carried on.  We think the case is controlled by previous decisions of the Board.  , and cases there cited, wherein we have held that such a loss does not come within the net loss provisions of the statute. Judgment will be entered on 10 days' notice, under Rule 50.